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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

 WHITNEY PHILLIPS AND IAN PHILLIPS,

        Plaintiffs,
                                                                  CASE NO.: 3:23-cv-01041-TJC-MCR
 V.

 ASHLEY GRAYSON AND DIGITAL COURSE
 RECIPE,

        Defendants.

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      NOTICE OF APPEARANCE AND DESIGNATION OF EMAIL ADDRESSES
                         AS LEAD COUNSEL

      PLEASE TAKE NOTICE that ROBERT F. COOKE and COOKE CARBONELL LLP,
hereby files this Notice of Appearance, as lead counsel, on behalf of Plaintiff(s) WHITNEY
PHILLIPS AND IAN PHILLIPS, and further requests that copies of all pleadings, notices and
correspondence regarding the above-styled cause be served upon the undersigned attorneys:

                      Primary Email: litigationl@cookecarbonell.com
                      Secondary: rcooke@cookecarbonell.com
                      Tertiary: rfcparalegal@cookecarbonell.com




                [REMAINDER OF PAGE LEFT BLANK INTENTIONALLY]




                                 CERTIFICATE OF SERVICE

                                                        [l]
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